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                                  CURRICULUM VITAE



I.     Name: ​Ronald M. Klein
              PO Box 30598
              Spokane, WA 99223-3009
              509-838-1285
              ron.klein01@gmail.com



II.    EDUCATION

       B.A. (1972) Boston University: Psychology
       Ph.D. (1978) Washington University (St. Louis); Clinical Psychology

       Scholastic Awards and Honors

       1972-1973   National Defense Education Act Title IV Fellowship
       1973-1974   National Institute of Mental Health Fellowship
       1975-1976   Washington University Tuition Scholarship
       1975-1977   Washington University Graduate Research assistantship

III. ​PROFESSIONAL EXPERIENCE

July 2003- Present
Full time private practice encompassing psychotherapy, assessment, neuropsychological
assessment, and forensic consultation.

Medical Expert (Psychology) for Social Security Administration, Office of Disability and
Adjudication Review: assist Administrative Law Judges to interpret psychological records to
determine level of psychological impairment and vocational strengths/weaknesses (September
2001-May 2012)

Neuropsychological Consultant for Group Health Cooperative (2007-2009)

November 1998- June 2003
Part-time private practice including psychotherapy, assessment, neuropsychological assessment,
and forensic consultation.


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Sacred Heart Medical Center, Psychological Consultant to Inland Northwest Thoracic Organ
Transplant Program, Kidney Transplant Program, and Kidney Dialysis Center. Direct
assessment, treatment and consultation with adults and adolescents in these patient treatment
programs. Staff training and consultation to the Renal Service Line.

Continuing as Eastern Washington University, Guest Faculty, Physical Therapy

September 1982 - October 1998
Sacred Heart Medical Center, Director, Behavioral Medicine Service;
Direct assessment, treatment and consultation with adults and adolescents.Supervision of
psychological and organizational aspect of several patient treatment programs, including Inland
Northwest Thoracic Organ Transplant Program, Kidney Transplant Program, and general
Behavioral Medicine Service (psychological aspects of medical disease and disability). Clinical
Director of Pain Rehabilitation Clinic (1982-1994). Part-time private practice.

Eastern Washington University, Guest Faculty, Physical Therapy and Guest Faculty,
Psychology: Lectures, supervision of graduate students, teaching Psychological Aspects of
Physical Therapy.

Washington State University, Adjunct Assistant Professor, Department of Psychology plus
Intercollegiate Center for Nursing Education: Supervision of graduate student practicum and
research.

Spokane Mental Health Center, Adjunct Staff Psychologist for American Psychological
Association approved Predoctoral Psychology Internship Program.

October 1980 - July 1982
University of Washington Burn Center: Consultant, clinical intervention, staff training, and
psychosocial research activities.

July 1977 - July 1982
University of Washington Medical School, Assistant Professor, Department of Rehabilitation
Medicine: Assessment and psychological intervention of physically disabled patients and their
families. Teaching of medical and allied health personnel regarding application of behavioral
methods to comprehensive rehabilitation programs. Research on behavioral measurement of
disability.

October 1977 - September 1980


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United States Public Health Service Hospital, Seattle, Washington. Consultant: Staff
consultation and clinical assessment to Department of Rehabilitation Medicine and Cardiac
Rehabilitation Program. Case consultation to Medicine, Neurology, and Primary Care Services.

September 1975 - June 1977
       Washington University of St. Louis, Research Associate, under supervision of Anthony
Schuham, Ph.D. Conducted research studies on grant from National Institute of Alcoholism
and Alcohol Abuse.

January 1976 - May 1976
St. Louis State Hospital, Heroin Detoxification Unit. Consultant: Conducted staff interviews,
systematically observed group process at staff meetings, issued report with recommendations to
reduce staff dissension and ineffective ward procedures.

September 1974 - August 1975
Jewish Hospital of St. Louis, Psychology Intern (APA approved internship): Individual and
group psychotherapy in outpatient and inpatient psychiatric units, and a medical rehabilitation
unit. Some experience in family therapy and behavior modification.

October 1974 - August 1975
Narcotics Service Council (NASCO West), Consultant: Group psychotherapy with parents of
adolescent drug abusers.

June 1968 - August 1972
Massachusetts General Hospital, Child Development Laboratory, Psychological Technician for
C. Keith Conners, Ph.D.: Psychological testing of hyperkinetic children with learning
disabilities; assisted in research on analysis of reading dysfunctions and on pharmacological
treatment of Attention Deficit Disorder with Hyperactivity (ADHD).



IV.    PROFESSIONAL LICENSES AND CERTIFICATES

National Register of Health Service Psychologists, Washington, D.C., 1983 - 2014, Registrant #
31244

State of Washington Division of Professional Licensing (Psychology), 1979 - Present.
License # 636.



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Certificate of Training, Missouri State Alcoholism Training and Information Program; Missouri
Department of Mental Health and Washington University Social Science Institute, 1976.

V.     PROFESSIONAL ORGANIZATIONS

American Psychological Association
             Division of Neuropsychology
             Division of Law and Psychology

       Washington State Psychological Association

VI.    RESEARCH PUBLICATIONS

Klein, R.M. and Charlton, J.E.: Behavioral observation and analysis of pain behavior in severely
burned patients. ​PAIN​ 9:27-40, 1980.

Klein, R.M. and Fowler, R.S.: The use of a minicalculator timer as a pressure relief training
device. ​Archives of Physical Medicine and Rehabilitation​, 62:500-501, 1981.

Klein, R.M.: Adaptive behaviors in severely burned patients undergoing debridement
procedures. Western Psychological Association, Annual Proceedings, 1980 (abstract).

Klein, R.M. and Charlton, J.E.: Analysis of pain behavior in severely burned patients. American
Burn Association, Twelfth Annual Proceedings, 1980 (abstracts).

Klein, R.M. and Bell, B.: Self-care skills: Behavioral measurement with the Klein-Bell ADL
scale. ​Archives of Physical Medicine and Rehabilitation​, 63:335-338, 1982.

Klein, R.M.: Behavior and chronic pain. In ​Manual of Physical Medicine and Rehabilitation​,
Gary A. Okamoto, Editor. W.B. Saunders Co., Philadelphia, 1984.

King, N.J. and Klein, R.M.: Developing cooperative patient behavior in the dental setting.
Journal of the Canadian Dental Association​, 2:151-154, 1985.

King, N.J. and Klein, R.M.: Sexual counseling with spinal cord injured persons. ​Australian
Family Physician​, 14:47-51, 1985.

Thomas, S.A.; Remenyi, A.G.; Leonard, R.; King, N.J.; and Klein, R.M.: Psychological services
in rehabilitation. ​Australian Psychologist​, 20:43-50, 1986.

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VII.   RESEARCH AND CLINICAL PRESENTATIONS

Schuham, A.; Steinglass, P.; Klein, R.M.; Wolin, S.; and Guerin, P.: The alcoholic family; new
research findings and their clinical implications. Annual meeting of the American
Orthopsychiatric Association, New York, April, 1979.

Charlton, J.E.; Burns, M.; Heimbach, D.M.; Chapman, C.R.; Klein, R.M.; and Freund, P.:
Factors affecting pain complaints in patients with burns. Annual meeting of the American Pain
Society, San Diego, September, 1979.

Klein, R.M. and Charlton, J.E.: The use of behavioral observation to analyze pain behavior in
burn patients. Annual meeting of the American Pain Society, San Diego, September, 1979.

Klein, R.M. and Charlton, J.E.: Analysis of pain behavior in severely burned patients. Annual
meeting of the American Burn Association, San Antonio, March, 1980.

Klein, R.M.: Adaptive behaviors in severely burned patients. Annual meeting of the Western
Psychological Association, Honolulu, May, 1980.

Klein, R.M. and Bell, B.: Research application for Occupational Therapy: An update of the
Klein-Bell ADL Scale. Annual meeting of the Washington State Occupational Therapy
Association, Seattle, October, 1980.

Bell, B. and Klein, R.M.: Objective measurement of activities of daily living. The Klein-Bell
ADL Scale. Annual meeting of the American Occupational Therapy Association, San Antonio,
March, 1981.

Klein, R.M.: Staff reactions to behaviors of burn patients. Annual meeting of the American
Psychological Association, Los Angeles, August, 1981.

Charlton, J.E.; Klein, R.M.; Gagliardi, G.; Barsa, J.; and Heimbach, D.M.: Assessment of pain
and pain relief in patients with burns. Third World Congress on Pain of the International
Association for the Study of Pain, Edinburgh, Scotland, September, 1981.

Klein, R.M.; Johnson, C.; and Sandel, E.: Controlling pain during exercise. Annual meeting of
the American Burn Association, Boston, May, 1982.


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Klein, R.M.: Anoxic encephalopathy in burn patients due to smoke inhalation. Annual meeting
of the American Psychological Association, Washington, D.C., August, 1982.

Klein, R.M.; Clode, J.; and Hammond, S.: Psychology and Medicine: Role of the psychologist
in a general medicine setting. Semi-annual meeting of the Washington State Psychological
Association, Pasco, May, 1983.

Klein, R.M.: Health-enhancing variables in the treatment of severe burn injuries. Washington
State Psychological Associations, Chapter I meeting, Spokane, May, 1983.

Klein, R.M.: Chronic pain management. Conjoint Conferences: Sacred Heart Medical Center,
University of Washington Medical Education Committee and Pfizer Laboratories, Spokane,
April 1984, February, 1987, April 1989.

Boltwood, M.; Klein, R.M.; and Marvin, J.: A computerized psychosocial data base: Clinical and
research applications. Annual meeting of the American Burn Associations, San Francisco, April,
1984.

Klein, R.M.: Psychology in the general hospital: Translating from the laboratory to the bedside.
Psychology Day, Eastern Washington University, Department of Psychology, Cheney, May,
1984.

Klein, R.M.: Communicating code status to patients and families. Conjoint conference: Sacred
Heart Medical Center, Spokane, May, 1984.

Klein, R.M.: Issues facing the brain injured. Governor's Committee on Employment of the
Handicapped, and State of Washington Division of Vocational Rehabilitation, Spokane, June,
1984.

Klein, R.M.; Weisbrod, K.; and Young, J.: Assessing a patient's decisional capacity. Part of a
workshop entitled Challenging Choices: Continuing care and difficult decisions. Sacred Heart
Medical Center, Spokane, May 1985.

Klein, R.M.: Psychological issues in heart transplantation. Sacred Heart Medical Center,
Spokane, January, 1986.

Klein, R.M.: Resolving group conflict: A nursing management forum. Sacred Heart Medical
Center, Spokane, March, 1986.


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Klein, R.M.: Cognitive retraining: Who? What? When? Where? Why? Current perspectives in
Cognitive Rehabilitation. Sacred Heart Medical Center, Spokane, April, 1986.

Klein, R.M.: Health psychology: The new frontier. Annual Psychology Colloquium,
Department of Psychology, Eastern Washington University, Cheney, May, 1986.

Klein, R.M.: Why do they behave that way? Ethical Series on the treatment of neurologically
impaired patients. Sacred Heart Medical Center, May, 1986.

Klein, R.M.: Complicating factors in the rehabilitation of the injured worker. International
Rehabilitation Associates, Spokane, June, 1986.

Klein, R.M.: Cognitive-emotional factors to consider in treating the neurologically compromised
patient. Eastern Washington University, Department of Physical Therapy, Spokane, October
1986. Repeated annually.

Klein, R.M.: Cognitive Retraining - Bridging the gap. Washington State Speech and Hearing
Association, Annual Meeting, Spokane, October, 1986.

Klein, R.M.: Enhancing Physical Therapy with chronic pain patients using behavioral
techniques. Eastern Washington University, Department of Physical Therapy, Spokane,
February, 1986. Repeated annually till 1994.

Klein, R.M.: Understanding the chronic pain claim. Spokane Association of Insurance
Adjusters. Coeur d'Alene, October, 1987.

Klein, R.M.: Rehabilitation of the chronic pain patient. Annual meeting of the Idaho State
Industrial Commission, Boise, November, 1987.

Klein, R.M.: Treatment of chronic pain in a family medicine context. Family Medicine
Resident Training Program, Spokane, January, 1988.

Klein, R.M.: Stress Management - self-modification. Home Economics Association, District 81
School District, Spokane, February, 1988.

Klein, R.M.: Responding to the chronic pain claim. Washington State Department of Labor &
Industries, Claims Division, Olympia, June, 1989.



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Klein, R.M.: Depression as a secondary disability. National Rehabilitation Association, Eastern
Washington Chapter, Spokane, July, 1989.

Klein, R.M. and Mays, P.D.: Current techniques in pain management. KREM-2 (CBS affiliate),
Live call-in TV, Spokane, September, 1989.

Klein, R.M.: When pain is the problem, what is the answer? Idaho State Industrial Commission,
Regional Meeting, Post Falls, September, 1989.

Klein, R.M.: Neuropsychological Testing. Medical Rehabilitation Consultants, Spokane,
November, 1989.

Klein, R.M.: Psychological issues in heart transplantation. Inland Northwest Thoracic Organ
Transplantation Program, Introductory Seminar, Spokane, January, 1990.

Klein, R.M.: What is a Pain Clinic? Washington Self-Insured Association, annual meeting,
Spokane, February, 1990.

Klein, R.M.: Chronic pain management. Conjoint Conferences: Sacred Heart Medical Center,
Spokane, April, 1990.

Klein, R.M.; Taylor, L.; and Maloney, T.: Comprehensive treatment of the trauma patient.
Sacred Heart Medical Center Department of Physical Medicine and Rehabilitation Grand
Rounds, Spokane, September, 1990.

Klein, R.M.: Teamwork in Health Care. Sacred Heart Medical Center Excellence in Service
seminars, Spokane, January, 1991.

Klein, R.M.: Key issues in traumatic brain injury. Spokane County Bar Association, Spokane,
February, 1991.

Klein, R.M.: Role of psychology in the medical center: making behavioral medicine work.
Community Mental Health Center Proseminar Series, Spokane, February, 1991.

Klein, R.M.: Coping with stress: case in point - the Persian Gulf war. Spokane County Council
on Aging, March, 1991.

Klein, R.M.: Multidisciplinary factors in the management of the chronic pain patient.
Intercollegiate Center for Nursing Education, Spokane, March, 1991.

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Klein, R.M.: Update on Inland Northwest Thoracic Organ Transplant Program. KZZU Radio
Interview, Spokane, March, 1991.

Klein, R.M.: Hiring Team Players. Sacred Heart Medical Center. Excellence In Service
seminars, July, 1991.

Klein, R.M.: Transference/Countertransference. Neurological Intensive Care Unit Nursing Staff,
Sacred Heart Medical Center, October, 1991.

Klein, R.M.: Holiday Stress. Spokane Chapter of the American Heart Association, December,
1991.

Klein, R.M.: Approaching the Chronic Pain Patient. Spokane Orthopedic Study Group,
February, 1992.

Klein, R.M.: Coping with manipulative drug seeking patients. Surgical Unit Nursing Staff and
Social Service Staff, Sacred Heart Medical Center, March, 1992.

Klein, R.M.: Effect of Chronic Disease on Children. Holy Family Hospital, Well Spouse
Group, Spokane, March, 1992.

Calhoun, R.; Watkins, P.L.; Serwat, M.; and Klein, R.M.: Hostility among chronic pain patients:
Impediment to success in a rehabilitation program. Society of Behavioral Medicine, Annual
Meeting, New York, March, 1992

Klein, R.M.; Dang, J.; Tyrie, M.; and Wood, V.: Adjustment after spinal cord injury. Sacred
Heart Department of Physical Medicine and Rehabilitation, Grand Rounds, Spokane, April,
1992.

Klein, R.M.; and Blakely, J.: The role of functional neuropsychological assessment in the care
of the elderly. Sacred Heart Medical Center, Department of Psychiatry, Grand Rounds, Spokane,
May, 1992.

Klein, R.M.: Interviewing the physically disabled job applicant: Impact of the Americans With
Disabilities Act. Sacred Heart Medical Center, Spokane, May, 1992.

Klein, R.M.: Marketing and maintaining hospital-based psychological services: Customer
satisfaction and a smile. Washington State Psychological Association, Seattle, October, 1992.

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Klein, R.M.: Psychological pitfalls in rehabilitating the injured worker. Washington State
Self-Insured Association, Spokane, November, 1992.

Klein, R.M.: Stress Management Skills for chronic care nurses. Association of Nephrology
Nursing, Spokane, March, 1993.

Klein, R.M.: Effect of organ transplantation on the families of recipients. Transplant Recipients
Support Group, Spokane, March, 1993.

Klein, R.M.: Interviewing disabled job applicants: Preserving dignity and meeting the
challenges of the Americans With Disabilities Act. Rockwood Clinic, Spokane, March 1993.

Klein, R.M.: Managing chronic pain in family practice medicine. Family Practice Residency
Training Program, (University of Washington affiliated) Spokane, April, 1993.

Klein, R.M.: The ultimate act of giving: Psychological aspects of organ transplantation.
Washington State Psychological Association, Chapter 1, Spokane, May, 1993.

Klein, R.M.: Handling the angry patient. Sacred Heart Medical Center, Kidney Center, August,
1993.

Klein, R.M.; Joseph S.; and Hester, P.: Lung Transplantation and quality of life. Sacred Heart
Rehabilitation Center, Grand Rounds, September, 1993.

Klein, R.M.: Behavior Medicine: Psychology's Frontier. Gonzaga University Counseling
Program, Spokane, October, 1993.

Klein, R.M.: Format and structure of brain injury rehabilitation programs. Medical Rehab
Consultants, Spokane, October, 1993.

Klein, R.M.: Psychology goes to the hospital: Behavior Medicine in today's health care climate.
Spokane Community Mental Health Center, Psychology Internship Training Program, October,
1993.

Klein, R.M. and Kerr, R.: Treatment of Unsuccessful Suicide Patients in the Emergency Room.
Sacred Heart Medical Center Ethics Conference. Spokane, December, 1993.



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Klein, R.M.: Managing explosive families in the Intensive Care Unit. Sacred Heart Medical
Center, Spokane, February, 1994.

Klein, R.M.: Self-Care for Oncology Nursing: Taking care of us so we can take care of them.
Rockwood Clinic, Spokane, February, 1994.

Watkins, P.L., White, M. and Klein, R.M.: Quality of Life after Lung Transplantation. Presented
at Society of Behavioral Medicine annual meeting (poster session), Boston, April, 1994.

Klein, R.M.: Effect of health care reform on daily nursing practice: New applications for stress
management. Rockwood Clinic, Spokane, April, 1994.

Klein, R.M.: A Matter of Life and Death: Multiple Roles of Psychologists in Organ Transplant
Programs. Invited Address to Washington State Psychological Association, annual meeting,
Spokane, April, 1994.

Klein, R.M.: Behavioral Medicine as a career path. Washington State University Department of
Psychology, Pullman, April, 1994.

Klein, R.M.: Effective counseling techniques with organ transplant recipients and their families.
Pacific Northwest Kidney Center Social Work Association. Spokane, May 1994.

Klein, R.M.: Body image and psychological complications in organ transplant patients. Regional
meeting, UNOS (United Network for Organ Sharing), Coeur d'Alene Resort, Coeur d'Alene, ID,
June, 1994.

Klein, R.M.: "The Bad Guys: PTSD, Antisocial Personality Disorder, and Malingering."
Washington Self-Insured Association, Spokane, June, 1994.

Klein, R.M.: Psychological aspects of trauma. Seminar for ICU/Trauma Care Nurses (Mike
Day, RN Coordinator), Sacred Heart Medical Center, Spokane, December, 1994.

Klein, R.M.: The Effect of Health Care Reform on the Practice of Clinical Psychology. Invited
address, Washington State University Department of Psychology Colloquium, Pullman, April
1995.

Klein, R.M.: PTSD, Antisocial personality disorder, and malingering. Lorman Education
Seminars of Wisconsin, Ridpath Hotel, Spokane, June 1995.


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Klein, R.M.: Intrastaff conflict, Northpointe Dialysis Center, Spokane, June 1995.

Klein, R.M.: Psychological management of pain in the Post Anesthesia Care Unit, Cavanaugh's
Inn at the Park, Spokane, October 1995.

Klein, R.M.: Pleasing the customer Proseminar, Psychology Internship Training Program,
Spokane Mental Health Center, February, 1996

Klein, R.M.: (Repeat of) PTSD, Antisocial personality disorder, and malingering. Lorman
Education Seminars of Wisconsin, Ridpath Hotel, Spokane, June, 1996.

Klein, R.M.: Assessment of the geriatric patient. Visiting Nurse Association, Sacred Heart
Medical Center, Spokane, November, 1996.

Klein, R.M.: (Repeat of) Psychological aspects of trauma. Seminar for ICU/Trauma Care Nurses
(Mike Day, RN Coordinator), Sacred Heart Medical Center, Spokane, December, 1996.

Klein, R.M.: Stress management for the air ambulance health care professional. NorthWest
Medstar, Sacred Heart Medical Center, Spokane, February, 1997. (repeated April 1997).

Klein, R.M.: Grief counseling, Rockwood Clinic Laboratories, Spokane, March, 1997.

Klein, R.M.: Depression post transplantation, Northwest Speakers Bureau on Organ & Tissue
Transplantation, Sacred Heart Medical Center, Spokane, March, 1997.

Mays, M. and Klein, R.M.: Understanding personality disorders. Spokane County Bar
Association, Spokane, October, 1997.

Klein, R.M.: Consultation re psychological aspects of medical/surgical patients. Proseminar,
Psychology Internship Training Program, Spokane Mental Health Center, November, 1997.

Klein, R.M.: Pain management in primary care. Family Medicine Spokane, Residency Program,
Spokane, February 1998.

Klein, R.M.: Moral Challenges of Alzheimer's Disease, Panelist at Spokane Chapter Alzheimer's
Association Conference, Providence Auditorium, Spokane, March 1998.




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Klein, R.M.: New techniques for coping with chronic illness. American Nephrology Nurses
Association, Inland Northwest Chapter, Intercollegiate Center for Nursing Education, Spokane,
April 1998.

Klein, R.M.: Chronic pain management. University of Washington Physician's Assistant
Training Program (Medex), Spokane, June, 1998. (Repeated June 1999, June, 2000, May 2001)

Klein, R.M.: Maximizing the value of a neuropsychological exam. Washington State Trial
Lawyers Association, Legal Education Seminars, Seattle, May, 1999.

Klein, R.M.: Neuropsychological assessment. University of Washington Medical School, Dept.
of Psychiatry Residency Program, Spokane Rotation, December, 1999.

Klein, R.M. and Mays, M.: How to approach personality disordered clients. Spokane County Bar
Association, Spokane, February, 2000.

Klein, R.M.: Psychological Evaluations and Post Traumatic Treatment of Industrial
Injuries. Western Association of Workers Compensation Boards and Commissions, Coeur
d’Alene, ID, July 2000.

Klein, R.M. and Mays, M.: Practical considerations with personality disordered clients. Spokane
County Bar Association, Spokane, December, 2000.

Klein, R.M.: Providing Feedback on MMPI-2 to Patients. Psychology Internship Training
Program, Spokane Mental Health Center, March, 2001.

Klein, R.M.: ​Barriers To Healing: Bringing Tough Work Comp Cases To Closure. ​Lorman
Education Seminars of Wisconsin, Doubletree Hotel, Spokane Valley, June 2001.

Klein, R.M.: The Transplant Patient in Developmental Crisis. United Network for Organ
Sharing, Region VI Multidisciplinary Forum, West Coast River Inn, Spokane, April 2002

Klein, R.M.: Law and Psychology: Dynamic Tensions. Washington State Trial Lawyers
Association, Spokane Chapter, Inn at the Park, Spokane, September 2006.

Klein, R.M.: Consultation in Multidisciplinary Settings. Eastern Washington University, Dept. of
Psychology, Spokane, October 2006. (Repeated October 2007)



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Klein, R.M.: Key Issues in Psychotherapy. University of Washington, Dept. of Psychiatry and
Behavioral Sciences, Residency Seminar, Spokane, November 2006. (Repeated January 2007).

Klein, R.M.: Client Counseling Competition, Judge. Gonzaga University School of Law,
Spokane, November 2006.

Klein, R.M.: Looking Sharp: Psychology Communicates With the Legal System. Washington
State Psychological Association, Chapter 1, Spokane, March 2007.

Klein, R.M.: Responding to Psychological Crises: In Your Patients and In Yourselves. Eastern
Washington University Department of Physical Therapy, Spokane, April 2007.

Klein, R.M.: Surviving Depositions. Washington State Psychological Association, Chapter 1,
Spokane, September 2007.

Klein, R.M.: Consultation in Multidisciplinary Settings. (repeat) Eastern Washington University,
Dept. of Psychology, Spokane, October 2007.

Klein, R.M.: Current Update on Neuropsychology. Washington Defense Trial Lawyers
Association and Idaho Association of Defense Counsel, Coeur d’Alene, November 2007.

Klein, R.M.: The Bad Guys: Post Traumatic Stress Disorder, Antisocial Personality Disorder,
and Malingering. Lorman Business Seminars, Coeur d’Alene, October 2008

Klein, R.M.: Skills Needed by Chronic Dystonia Patients. Washington State Dystonia
Association, Eastern Washington Chapter, Spokane, March 2009.

Klein, R.M.: Required Skill Sets to Succeed as a Chronic Disease Patient. Parkinson’s Disease
Resource Center, Pacific Northwest Region, Spokane, June 2009.

Klein, R.M.: Preparing Your Mental Health Treating Expert for Trial. Idaho Trial Lawyers
Association, Coeur d’Alene, September 2009

Klein, R.M.: Managing Stress in the Real Life World of Legal Practice. Spokane County Bar
Association, Ethics CLE presentation, December 2011.

Klein, R.M.: Law Student Path To Stress Management. Gonzaga University Law School,
Student Bar Association, Spokane, March 2012.


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Klein, R.M.: Role of Experts in Litigation. University of Idaho Law School, Trial Advocacy
course, Moscow, ID, October 2012.

Klein, R.M.: Preparing Your Mental Health Treating Expert for Trial. Attorney General of
Washington, Spokane Division, CLE presentation, December 2012.

Klein, R.M.: Managing Stress in the Real Life World of Legal Practice. Washington Women
Lawyers, Spokane Chapter. CLE presentation, February 2013.




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